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IN THE UNITED STATES COURT OF INTERNATIONAL TRADE
   BEFORE: THE HONORABLE M. MILLER BAKER, JUDGE

                                    )
ARCHROMA U.S., INC.,                )
                                    )
                                    )
                     Plaintiff,     )
                                    )
               v.                   )            Court No. 22-00354
                                    )
UNITED STATES DEPARTMENT )
OF COMMERCE and UNITED              )
STATES INTERNATIONAL                )
TRADE COMMISSION,                   )
                                    )
                     Defendants. )
 __________________________________ )

        REPLY BRIEF IN SUPPORT OF PLAINTIFF’S
  RULE 56.2 MOTION FOR JUDGMENT ON AGENCY RECORD



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Dated: November 22, 2023



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                    GLOSSARY OF CASE-SPECIFIC
                   ACRONYMS AND ABBREVIATIONS

          AD Orders        Antidumping orders on stilbenic optical
                           brightening agents from Taiwan and the
                           People’s Republic of China

          ITC              International Trade Commission

          Commerce         U.S. Department of Commerce

          First Sunset     The first sunset review of the antidumping
          Review           order in this case that resulted in continuation
                           of the order from the original proceeding. The
                           continuation order was published on
                           November 27, 2017.

          Second Sunset    The second sunset review of the antidumping
          Review           order in this case for which Commerce
                           published an initiation of review of October 3,
                           2022.
          Petitioner or    Archroma U.S., Inc.
          Archroma




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IN THE UNITED STATES COURT OF INTERNATIONAL TRADE
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ARCHROMA U.S., INC.,                )
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                                    )
                     Defendants. )
 __________________________________ )

        REPLY BRIEF IN SUPPORT OF PLAINTIFF’S
  RULE 56.2 MOTION FOR JUDGMENT ON AGENCY RECORD

        Archroma addresses the following two issues in reply to the

Defendants’ briefing:

        1.     Commerce conflates the notice of intent to participate (19

CFR § 351.218(d)) with its adequacy determination based on whether

an interested party files a substantive response pursuant to 19 CFR §

351.218(d)(3).

        2.     Commerce prematurely conducted the Second Sunset

Review, which should be declared ultra vires.




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A.      Archroma Timely Filed Its Substantive Response, which
        Permitted Commerce to Make Its Adequacy Determination.

          Commerce is wrong that the “15-day regulatory deadline [for

filing a notice of intent to participate] promotes administrative

efficiency and eliminates needless reviews because Commerce is

informed within a reasonable amount of time whether it will need to

conduct a full sunset review, which requires substantial time and

resources from the agency.” Commerce’s Response at p. 17-18. Whether

or not Commerce is required to conduct a full review or an expedited

review is based on the substantive response—not the notice of intent to

participate. It is undisputed that Archroma timely filed its substantive

responses with Commerce, see Appx001152-00163, and a response to

the ITC’s Notice of Institution, see Appx001263-1293, pursuant to the

agencies’ regulatory deadlines for such responses. Archroma’s

substantive responses contained all information necessary for

Commerce to find a continued likelihood of dumping and for the ITC to

find material injury.

        Yet, even though § 1675(c)(1) is clear that Commerce cannot

conduct the Second Sunset Review until after November 27, 2022,

Commerce in this case decided no later than October 27, 2022 that it
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would revoke the AD Orders altogether. There is no reasonable

justification to prematurely initiate sunset reviews, require parties to

file notices of intent to participate nearly 45 days before the review may

be conducted, and require parties to file substantive responses all well

before the review is to be conducted pursuant to statute—especially

where Commerce stands ready to revoke antidumping orders before

Commerce even has statutory authority to conduct the sunset review.

In sum, the regulatory deadlines issued by Commerce in 19 C.F.R.

§ 351.218(d) exceed the authority granted by Congress to Commerce

under the Tariff Act.

B.      The Second Sunset Review Should Be Declared Ultra
        Vires.

        The sole reason Commerce provides for its decision to revoke the

AD Orders is Commerce’s assertion that Archroma did not timely file a

notice of intent to participate by October 18, 2022 pursuant to the 15-

day deadline set forth in Commerce’s regulations. See 19 C.F.R. §

351.218(d)(1)(i), Appx001006-001007. There is no similar deadline in

the controlling statutes to file a notice of intent to participate.

        Commerce’s premature initiation coupled with a short 15-day

regulatory deadline is inconsistent with the statutory scheme for
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conducting sunset reviews. Specifically, section 1675(c)(3)(A) provides

Commerce with 90 days to revoke an antidumping order while

providing only 15 days to a domestic interested party such as Archroma

to file a notice of intent to participate. Commerce’s draconian

application of its regulatory deadlines that led to revocation in this case

while Commerce itself failed to strictly adhere to other notice

requirements is further evidence of abuse of discretion, and arbitrary

and capricious decision-making by Commerce.

C.      CONCLUSION

        For the foregoing reasons, we respectfully request that the Court

remand the final determination in the underlying investigation to

Commerce for disposition consistent with the Court’s Final Decision.

                                    Respectfully submitted,

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                    CERTIFICATE OF COMPLIANCE

        Pursuant to Chamber Procedure 2(B)(1), the undersigned certifies

that this brief complies with the word limitation requirement. The word

count for Memorandum in Support of Plaintiff’s Rule 56.2 Motion for

Judgment on the Agency Record, as computed by Jones Walker LLP’s

word processing system (Microsoft Word 365), is 546 words.

                         /s/ Christopher D. Cazenave
                           (Signature of Attorney)

                           Christopher D. Cazenave
                             (Name of Attorney)

                             Archroma U.S., Inc.
                             (Representative Of)

                              November 22, 2023
                                   (Date)




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